      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 1 of 31


 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:13-CR-00050-KJM
12                     Plaintiff,
13          v.                                        ORDER
14   ZHIQIANG LIU, et al.,
15                     Defendant.
16

17                  The following motions are currently pending before the court: (1) a motion to

18   suppress evidence derived from a GPS warrant issued on October 25, 2012 by the Sacramento

19   County Superior Court, filed by defendant Qinghong Li and joined by defendant Shihong Chen,

20   ECF Nos. 71, 86; (2) a motion to suppress observations from a vehicle stop on February 21, 2012,

21   filed by defendant Li and joined by defendant Chen, ECF Nos. 79, 86; (3) a motion to suppress

22   evidence obtained as the result of a GPS warrant issued on November 16, 2012 by the duty

23   magistrate judge, filed by defendant Li and joined by defendant Chen and in part by defendant

24   Zhiqiang Liu, ECF Nos. 80, 82, 86; (4) a motion to suppress evidence derived from the federal

25   GPS warrant filed by defendant Liu and joined by defendant Chen, ECF Nos. 82, 86; (5) a motion

26   to dismiss the indictment, arguing the government’s marijuana policies are arbitrary within the

27   meaning of the Fifth Amendment and violate the doctrine of equal sovereignty, filed by all

28   defendants, ECF No. 87; (6) a motion to suppress evidence derived from “a police sniff and
                                                     1
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 2 of 31


 1   listening” outside Cliffcrest Drive on December 10, 2012 and outside McKenna Drive on October
 2   23, 2013, filed by defendant Li and joined by defendant Chen, ECF Nos. 94, 86; (7) a motion to
 3   suppress all evidence obtained from a residence on McKenna, seized as a result of federal search
 4   warrant 2:13-sw-0053, filed by defendant Li and joined by defendant Chen, ECF No. 95; and
 5   (8) a motion to suppress evidence seized from the search of Gwerder Court, filed by defendant
 6   Jun Mou Peng, ECF No. 96. At hearing, defendant Liu joined in all of defendant Li’s motions.
 7                  The government has filed an omnibus opposition to the motions. Opp’n, ECF
 8   No. 97. Defendant Chen has filed a reply. ECF No. 98.
 9                  The court heard argument on July 9, 2014, Olusere Olowoyeye appeared for the
10   government: Douglas Beevers appeared for Qinghong LI; Keith Staten appeared for Zhinqiang
11   Liu; Mark Reichel appeared for Shihong Chen; and Chris Cosca appeared for Jun Mou Peng. All
12   defendants were present and were assisted by the Cantonese interpreter.
13                  After considering the parties’ arguments, the court DENIES the motions to
14   suppress and the motion to dismiss.
15   I. THE MOTIONS TO SUPPRESS
16                  The three warrants in this case built on the information presented in and evidence
17   derived from the earlier warrants, as well as evidence secured through a vehicle stop and the
18   “sniff” outside two houses. After addressing the threshold question of standing, the court
19   describes each event separately below and then addresses the parties’ challenges to that particular
20   event.
21            A. Standing—The Reasonable Expectation of Privacy
22                  A defendant who claims that government action violated his or her Fourth
23   Amendment rights must generally demonstrate that he or she had a “legitimate expectation of
24   privacy” in the place searched or the thing seized and that this expectation is one society
25   recognizes as legitimate. Rakas v. Illinois, 439 U.S. 128, 143 (1978); United States v. Bautista,
26   362 F.3d 584, 589 (9th Cir. 2004). Courts generally use the term “standing” to refer to this
27   reasonable expectation of privacy, even though the concept “is analytically distinct from ‘case or
28   controversy’ standing in the Article III context.” United States v. Ewing, 638 F.3d 1226, 1230
                                                      2
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 3 of 31


 1   (9th Cir. 2011). The Ninth Circuit has said Fourth Amendment standing “is not jurisdictional,”
 2   United States v. Garcia-Villalba, 585 F.3d 1223, 1234 n.6 (9th Cir. 2009), and thus “may be
 3   bypassed in favor of the merits,” Ewing, 638 F.3d at 1230, or “waived . . . by failing to raise it.”
 4   United States v. Huggins, 299 F.3d 1039, 1050 n.15 (9th Cir. 2002); but see United States v.
 5   Paopao, 469 F.3d 760, 764 (9th Cir. 2006) (stating government could challenge defendant’s
 6   standing in defendant’s appeal from denial of suppression motion even though government had
 7   not raised the issue in the district court).
 8                   The government has not addressed defendants’ standing to raise any of the
 9   challenges before the court, and at hearing, defendants said they each had adequately addressed
10   standinng in the respective motions. As the idea of “standing” is one of substantive Fourth
11   Amendment law, Ewing, 638 F.3d at 1230, the court discusses it, if needed, in connection with
12   the challenges to the searches.
13           B. Warrantless Searches
14                   As noted, the defense challenges three warrantless searches: the seach of Li’s car
15   and the two “sniff” searches. ECF Nos. 79, 94.
16                   It is the government’s burden to justify a vehicle stop, just as it is its burden to
17   justify warrantless searches. United States v. Burciaga, 687 F.3d 1229, 1230 (10th Cir. 2012)
18   (government’s burden to show reasonable suspicion for vehicle stop); United States v.Carbajal,
19   956 F.2d 924, 930 (9th Cir. 1992) (“The burden is on the Government . . . to show the
20   reasonableness of a warrantless search. This includes demonstrating that the search comes within
21   one of the narrow exceptions to the warrant requirement.”) (internal citations omitted).
22                   Although the government acknowledges defendants’ challenge to the “sniffs”
23   outside Cliffcrest and McKenna in the introduction to its opposition, it does not engage the issues
24   substantively. See ECF No. 97 at 1. Moreover, it does not even acknowledge Li’s motion to
25   suppress the observations from the vehicle stop, much less provide a copy of any police report
26   prepared as the result of the contact or address the differing descriptions of the search of Li’s car.
27   It did address both motions during the hearing on the motion; although this is not the ideal way of
28   meeting the defense challenges, it does preserve the government’s position. United States v.
                                                        3
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 4 of 31


 1   Scott, 705 F.3d 410, 416 (9th Cir. 2012) (finding that government’s theory was not forfeited when
 2   it was raised during the evidentiary hearing but not included in the government’s opposition).
 3                  The court acknowledges that Li’s account of the stop and search is different in
 4   some respect than Barnes’, but denies Li’s request for an evidentiary hearing to resolve the
 5   differences, ECF No. 79 at 8, for even assuming Li’s rather than Barnes’ account is correct, it
 6   does not justify suppression. See United States v. McTiernan, 695 F.3d 882, 891 (9th Cir. 2012)
 7   (recognizing evidentiary hearing was unnecessary when district court assumed defendant’s
 8   account was correct for purposes of ruling). Moreover, as there is no suggestion the facts about
 9   the sniffs are contested, no evidentiary hearing is required.
10                  1. The Vehicle Stop of February 12, 2012
11                  The state and federal GPS warrant affidavits and the affidavit for the warrant to
12   search the houses contain the following narrative: On February 12, 1012, Elk Grove Police
13   Department (EGPD) Officer Barnes stopped a black Lexus, license number 4WYU928, near the
14   residence on Cliffcrest Drive where officers ultimately found marijuana. Affidavit for State GPS
15   Warrant, ECF No. 78 at 20; Affidavit for Federal GPS Warrant, ECF No. 80-1 ¶ 11; Affidavit for
16   Federal Search Warrant, ECF No. 95-1 ¶ 21. Officer Barnes identified the occupants of the
17   Lexus as defendants Li and Chen and observed two electric ballasts, warm to the touch, and two
18   high power cultivation light hoods inside the car. Id. He also detected a strong odor of marijuana
19   inside the car. Id. The state GPS affidavit and federal search affidavit include additional facts:
20   Li told Barnes that both she and Chen had medical marijuana cards and that they lived in San
21   Francisco and were just visiting the area. ECF No. 78 at 20. The state affidavit also reports that
22   Barnes found neither medical marijuana cards nor marijuana in the Lexus. ECF No. 78 at 20;
23   ECF No. 95-1 ¶ 21.
24                  Li has provided a declaration saying the officer told her he stopped her car beause
25   of “too much tint on the windows.” Decl. of Qinghong Li, ECF No. 79 at 9. In response to the
26   officer’s question about marijuana usage, Li said she had a marijuana license; the officer searched
27   her purse and found the license. Id. ¶ 2. The officer also searched the trunk of the Lexus and
28   found two light hoods and other equipment. Id. ¶ 3.
                                                       4
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 5 of 31


 1                  Li’s motion does not challenge the initial stop of the car. ECF No. 79 at 5.
 2   Indeed, California courts have found a vehicle stop lawful when the officer’s view through a car’s
 3   side window was obscured by the tint, thus giving rise to reasonable suspicion the car’s windows
 4   were illegally tinted in violation of California Vehicle Code § 26708.5(a). People v. Roberts,
 5   184 Cal. App. 4th 1169, 1190-91 (2010).
 6                   Li acknowledges the officer did not need a warrant to search her car’s trunk if he
 7   had probable cause for the search. See California v. Avecedo, 500 U.S. 565, 580 (1991); United
 8   States v. Phillips, 2:13-CR-00398-MCE, 2014 WL 1275916 at *3-4 (E.D. Cal. Mar. 27, 2014)
 9   (“[I]f police have probable cause to believe that evidence of a crime is somewhere inside a
10   vehicle, they can search anywhere within the vehicle . . . that might contain the object of the
11   search.”) (internal citation omitted). Federal cases have held that “a ‘moderate to strong odor’ of
12   marijuana coming from the vehicle” gives rise to probable cause to search the vehicle’s trunk.
13   United States v. Zabalza, 346 F.3d 1255, 1259 (10th Cir. 2003); see also United States v. Garza,
14   10 F.3d 1241, 1246 (6th Cir. 1993) (agent’s “smelling the marijuana then constituted probable
15   cause to believe there was marijuana in the vehicle); but see United States v. Downs, 151 F.3d
16   1301, 1303 (10th Cir. 1998) (establishing distinction between odor of burnt marijuana, which
17   suggests the passengers are using rather than transporting marijuana, and thus does not justify
18   search, and odor of raw marijuana, which suggests transportation and justifies search).
19                  However, defendant notes the search was performed by the EGPD, approximately
20   nine months before federal law enforcement officials became involved in the investigation. Li
21   argues that “[t]he mere fact of the smell of marijuana is not enough for probable cause, because
22   under California law marijuana has lawful medical use which is common.” ECF No. 79 at 2. She
23   points to California’s Medical Marijuana Program Act (MMPA), which exempts certain classes
24   of people from criminal prosecution; any probable cause determination must take the MMPA into
25   account. Id.
26                  The government argues that state standards are not applicable and that the officer
27   did not have to eliminate the possibility Li’s activities were undertaken legally before concluding
28   he had probable cause to search. The government cites United States v. $186,416.00, 590 F.3d
                                                      5
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 6 of 31


 1   942 (9th Cir. 2009).1 That case involved the seizure and ultimate forfeiture of money taken from
 2   a medical marijuana cooperative by state authorities, in reliance on a state warrant. When the
 3   money was released to federal authorities for the initiation of forefeiture proceedings, the
 4   cooperative challenged the seizure. The district court suppressed the evidence because the
 5   warrant had not complied with Rule 41 of the Federal Rules of Criminal Procedure. The Ninth
 6   Circuit disagreed, noting that Rule 41 did not apply to state searches conducted by state officers.
 7   It also said: “While there may have been probable cause to search UMCC for a violation of
 8   federal law, that was not what the LAPD was doing. . . . Instead, it sought a warrant from a state
 9   court judge, though, . . . it lacked probable cause for a state law violation . . . . [¶] Accordingly,
10   the search was not illegal because it failed to comply with Rule 41 but because it violated
11   UMCC’s Fourth Amendent right[s] . . .in light of the absence of probable cause under state law.”
12   Id. at 948; see also Hawkins v. Mitchell, 756 F.3d 983, 994 (7th Cir. 2014) (“‘The existence of
13   probable cause . . . depends, in the first instance, on the elements of the predicate criminal
14   offense(s) as defined by state law.’” (quoting Abbott v. Sangamon Cnty., 705 F.3d 706, 715 (7th
15   Cir. 2013)).
16                  Defendant relies on County of Butte v. Superior Court, 175 Cal.App. 4th 729
17   (2009), to argue that the illegality of marijuana under federal law did not prevent the arrest from
18   being illegal under state law. In County of Butte, however, the court did not consider the legality
19   of an arrest, but rather whether the real party in interest could bring a civil suit to challenge an
20   officer’s order that he destroy medical marijuana he was growing lawfully; it discusses only
21   obliquely the impact of California’s medical marijuana laws on the propriety of searches and so
22   does not provide guidance for the questions before the court.
23                  Under California’s Compassionate Use Act (CUA), the criminal laws relating to
24   the possession and cultivation of marijuana do not apply to a patient who possesses or cultivates
25   marijuana for personal medical use, based on the recommendation of a physician. Littlefield v.
26   Cnty. of Humboldt, 218 Cal. App. 4th 243, 250-51 (2013) (citing People v. Kelly, 47 Cal. 4th
27
            1
              The government cites to the decision as it appeared at 583 F.3d 1220 (9th Cir. 2009), but
28   that order was amended and superseded on denial of rehearing.
                                                     6
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 7 of 31


 1   1008, 1012-13 (2010)). “‘[T]he CUA provides an affirmative defense to prosecution for the
 2   crimes of possession and cultivation. The CUA does not grant immunity from arrest for those
 3   crimes, however. So long as the authorities have probable cause to believe that possession or
 4   cultivation has occurred, law enforcement officers may arrest a person for either crime regardless
 5   of the arrestee’s having a physician’s recommendation or approval.’” Id. (quoting Kelly, 47 Cal.
 6   4th at 1012-13) (citations omitted; emphases in original).
 7                   In 2003, the California Legislature enacted the MMPA “‘to faciliate the prompt
 8   identification of qualified patients . . . in order to avoid unnecessary arrest and prosecution . . .
 9   and provide needed guidance to law enforcement officers.” Id. at 250-51. Under both the CUA
10   and the MMPA, a patient with a recommendation for medical marijuana may possess an amount
11   “reasonably related the patient’s current medical needs.” Id. at 251 (citing People v. Trippet,
12   56 Cal. App. 4th 1532, 1549 (1997)). Accordingly, “‘[l]aw enforcment officers may arrest a
13   qualified patient for marijuana offenses where they have probable cause, based on all of the
14   surrounding facts including qualified patient status, when they have reason to believe, for
15   instance, that the arrestee does not possess marijuana for his personal medical purposes.’” Id. at
16   252 (quoting People v. Strasburg, 148 Cal. App. 4th 1052, 1058 (2007)); see also United States
17   v. Phillips, 9 F. Supp. 3d 1130, 1137 (E.D. Cal. 2014). (“[W]hen officers become aware that a
18   suspect has a medical marijuana card, the officers must take that information into account when
19   determining whether there is probable cause to conduct a warrantless search . . . .”); Stewart v.
20   Morris, Case No. 10-cv-04106 NJV, 2013 WL 5268977, at *8 (N.D. Cal. Sept. 17, 2013) (“[T]he
21   MMPA provides only an affirmative defense to prosecution; it does not create a new standard for
22   probable cause, search or arrest.”).
23                   Transportation of marijuana is generally a crime. However, the MMPA also
24   provides that a qualified patient who “‘transports . . . marijuana for his or her own personal
25   medical use’” “‘shall not be subject, on that sole basis, to criminal liability’” for transportation.
26   People v. Dowl, 57 Cal. 4th 1079, 1086 (2013) (quoting Health & Saf. Code § 11362.715).
27   However, even under the CUA and the MMPA, “the Legislature intended to limit the
28   circumstances under which the transportation of medical marijuana is lawful to situations in
                                                        7
       Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 8 of 31


 1   which the transportation is reasonably related to the patient’s medical needs.” People v. Wayman,
 2   189 Cal. App. 4th 215, 223 (2010). “‘The medical marijuana laws were never intended to be ‘a
 3   sort of “open Sesame” regarding the possession, transportation and sale of marijuana in this
 4   state.’” Id. (quoting Trippet, 56 Cal. Capp. 4th at 1546; fn. omitted).
 5                  In this case, when Officer Barnes stopped Li’s car, he smelled a strong odor of
 6   marijuana. Li told Barnes she lived in San Francisco and was just visiting the area. Even
 7   assuming Barnes saw Li’s medical marijuana card as Li avers, the strong odor of marijuana gave
 8   Barnes probable cause to search the car’s trunk to determine whether Li in fact possessed the
 9   marijuana for personal medical needs, Strasburg, 148 Cal. App. 4th at 1060, or the transportation
10   of marijuana was “reasonably related to [her] medical needs.” Wayman, 189 Cal. App.4th at 223.
11                  Li’s motion to suppress observations from the vehicle stop is denied.
12                  2. The “Sniffs” at Cliffcrest Drive and McKenna Drive
13                  According to the federal search warrant affidavit, on October 23, 2012, at
14   5:15 a.m., officers “approached the front entry area of the residence” at Cliffcrest and “smell[ed]
15   a strong odor of marijuana coming from the residence and further heard the familiar sounds of a
16   loud humming sound which is consistent with the sound made from the large high power blower
17   fans which are commonly used to circulat[e] the air inside indoor marijuana grows.” ECF
18   No. 95-1 at 15 ¶ 26. The federal GPS warrant affidavit reports detectives “walked up to the front
19   door and could smell a strong odor of marijuana . . . as well as hear a loud humming sound . . . .”
20   ECF No. 80-1 at 8. The state GPS warrant affidavit says that the EGPD detectives “walked up
21   the driveway and on the sidewalk up to the front door which was accessible to the public. While
22   standing in the front entry area, we could smell a strong odor or marijuana . . . as well as hear a
23   loud humming sound . . . .” ECF No. 78 at 23.
24                  Later, on December 10, 2012, investigators drove to McKenna Drive and “could
25   smell a strong odor of marijuana while in the driveway of the residence. Investigators could also
26   hear the familiar humming sounds of a high power ventilation system coming from inside the
27   garage as well.” ECF No. 95-1 at 22 ¶ 45.
28   /////
                                                       8
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 9 of 31


 1                   Li relies on Florida v. Jardines, ___ U.S. ___, 133 S.Ct. 1409 (2013), to argue the
 2   officers’ sniff violated her rights. In Jardines, police used a drug-sniffing dog to explore outside
 3   of Jardines’ home and onto the porch. The dog alerted at the front door, information that was
 4   included in the affidavit supporting the search warrant. Id. at 1413-14.     The Supreme Court
 5   held that the dog’s intrusion on to the porch was a search within the meaning of the Fourth
 6   Amendment.
 7                   At hearing on the instant motion, the government argued the officers relied in good
 8   faith on prior authority that had held the sniffs were not illegal. See Davis v. United States, ___
 9   U.S. ___, 131 S. Ct. 2419 (2011) (“Evidence obtained during a search conducted in reasonable
10   reliance on binding precedent is not subject to the exclusionary rule.”). It did not, however,
11   identify any binding precedent upon which the officers could reasonably have relied.
12                   In Jardines, the Court explained that “[w]hen ‘the Government obtains
13   information by physically intruding’ on persons, houses, papers, or effects, ‘a “search” within the
14   original meaning of the Fourth Amendment’ has ‘undoubtedly occurred.’” 133 S. Ct. at 1414
15   (quoting United States v. Jones, __ U.S. __, 132 S. Ct. 945, 950-51 (2012)). It reviewed the facts
16   of that case:
17                   The officers were gathering information in an area belonging to
                     Jardines and immediately surrounding his house—in the curtilage
18                   of the house, which we have held enjoys protection as part of the
                     home itself. And they gathered that information by physically
19                   entering and occupying the area to engage in conduct not explicitly
                     or implicitly permitted by the homeowner.
20

21   Id. The Court continued that although there is an implied license for a visitor, including an
22   officer, to approach the home, knock, wait briefly and leave, there is “no customary invitation” to
23   bring a police dog to sniff around the home “in hopes of discovering incriminating evidence.” Id.
24   at 1416. It added that “background social norms that invite a visitor to the front door do not
25   invite him there to conduct a search.” Id. Jardines thus expanded on the idea explored in Jones,
26   that the protections of the Fourth Amendment “do not rise or fall with the Katz [reasonable
27   expectation of privacy] formulation,” but are also concerned with “government trespass upon the
28   areas” enumerated in the Fourth Amendment. Jones, 132 S. Ct. at 950. Under this formulation, a
                                                       9
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 10 of 31


 1   “[t]repass alone” does not by itself establish a constitutional violation, but rather “must be
 2   conjoined with that what was present here: an attempt to find something or to obtain
 3   information.” Id. at 951 n.5.
 4                  In this case, Li and Chen claim they are entitled to challenge the sniff at Cliffcrest
 5   because the GPS information showed Li was an overnight guest at that residence. ECF No. 94 at
 6   2. Chen does not separately address his expectation of privacy in the houses. However, Jardines
 7   is based not on the expectation of privacy, but rather on the common-law protection against
 8   trespass. It is true that an overnight guest may have an expectation of privacy in the place he has
 9   spent the night. Minnesota v. Olson, 495 U.S. 91, 96-97 (1990) ; but see United States v. Silva,
10   247 F.3d 1051, 1055 (9th Cir. 2001) (overnight guest had no reasonable expectation of privacy in
11   shed even though he had key and spent night because there was no evidence he was guest of
12   identifiable host or that there was any activity in shed besides drug manufacture). Even assuming
13   Li has standing, she cites to nothing suggesting an overnight guest may rely on the “common-law
14   trespassory test” expounded on in Jardines. Jones, 132 S. Ct. at 952; see also Johnson v. Cnty. of
15   Contra Costa, NO. C 09-01241 WHA), 2010 WL 3491425, at *15 (N.D. Cal. Sep. 3, 2010) (tort
16   of trespass requires plaintiff to prove ownership or control of property, among other things).
17                  Li and Chen spent more time at McKenna: the GPS showed their cars, the Lexus
18   and the blue Sienna were parked overnight there for several days and both were seen taking
19   children to and from school. ECF No. 78 at 19-21. In addition, Chen was the utilities subscriber
20   and the blue Sienna was registered to him at McKenna. Id. at 19. But the property was owned
21   by Bai Qiong Li. Id. at 20. Neither Li nor Chen have presented any evidence showing they
22   controlled, rather than visited the property, or that the officers’ conduct in walking up the
23   driveway to sniff and listen violated any implied license they had authority to assert. Their
24   challenges to the sniffs are denied.
25           C. Challenges to Search Warrants
26                  Defendants argue that the three warrants in this case are not supported by probable
27   cause and that the supporting affidavits suffer from fatal ommissions. They request an
28   /////
                                                      10
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 11 of 31


 1   evidentiary hearing. The government counters that the warrants were based on probable cause
 2   and there were no material omissions from the affidavits.
 3                  The warrant clause of the Fourth Amendment requires “probable cause, supported
 4   by Oath or affirmation” to justify the issuance of a search warrant. U.S. Const. amend. IV.
 5   “Probable cause exists when, considering the totality of the circumstances, the affidavit shows
 6   that there is a fair probability that contraband or evidence of a crime will be found in a particular
 7   place.” United States v. Fernandez, 388 F.3d 1199, 1252 (9th Cir. 2004) (quotations omitted).
 8   “[O]pinions and conclusions of an experienced agent regarding a set of facts are properly a factor
 9   in the probable cause equation under the Gates totality of the circumstances approach.” United
10   States v. Motz, 936 F.2d 1021, 1024 (9th Cir. 1991) (internal quotations omitted). A fair
11   probability does not require “certainty or even a preponderance of the evidence,” only “a
12   colorable argument for probable cause. . . .” United States v. Krupa, 658 F.3d 1174, 1179-80 (9th
13   Cir. 2011).
14                  This court’s review of a warrant affidavit is deferential: “the duty of a reviewing
15   court is simply to ensure that the magistrate [judge] had a ‘substantial basis for . . . conclud[ing]
16   that probable cause existed.” Illinois v. Gates, 462 U.S. 213, 238-39 (1983) (alteration in
17   original); United States v. Crews, 502 F.3d 1130, 1135 (9th Cir. 2007). In reviewing an affidavit,
18   the court must interpret it “in a ‘common-sense’ fashion, not in a hypertechnical manner; and in a
19   close case, any doubt is to be resolved in favor of upholding the warrant in order to encourage
20   resort to orderly legal processes.” United States v. Coleman, 423 F. Supp. 630, 633–34 (N.D. Cal.
21   1976) (citing, among other cases, United States v. Ventresca, 380 U.S. 102, 108–09 (1964);
22   United States v. Wong, 470 F.2d 129 (9th Cir. 1972)).
23                  A challenge to an affidavit supporting a search warrant must generally be based on
24   the face of the affidavit. However, in Franks v. Delaware, the United Sates Supreme Court held
25   that a defendant is entitled to a hearing to challenge an affidavit when she satisfies a two-part test:
26   First, she must make a substantial preliminary showing that the affidavit includes false statements
27   included deliberately or as the result of a reckless disregard for the truth. 438 U.S. 154, 171
28   (1978). This showing must be accompanied by an offer of proof. Id.. Deliberate or reckless
                                                       11
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 12 of 31


 1   omissions of facts that tend to mislead may also trigger a Franks hearing. United States v
 2   Jawara, 474 F.3d 565, 582 (9th Cir. 2007). Second, “the court must determine that the
 3   challenged statement is necessary to a finding of probable cause, i.e., that its excision would leave
 4   the affidavit with insufficient content to establish probable cause.” United States v. Chesher,
 5   678 F.2d 1353, 1360 (9th Cir. 1982) (citing Franks, 438 U.S. at 171-72).
 6                  When the results of a warrant-based search are challenged in a motion to suppress,
 7   the defendant bears the burden of demonstrating the search was unreasonable under the Fourth
 8   Amendment. See United States v. Ankeny, 502 F.3d 829, 836 (9th Cir. 2007).
 9                  1. The State GPS Warrant
10                          a. The Affidavits
11                  In April 2012, Sacramento Municipal Utility District (SMUD) employee Rod
12   Fetch reported high power usage at 86** Everidge Court, Sacramento (Everidge) to EGPD
13   Detective Roy Keller. ECF No. 78 at 15. The average monthly power usage was 9,936 kilowatt
14   hours (KWH), which Fetch said was consistent with marijuana production. Id. Fetch advised
15   Detective Keller the utilities subscriber for Everidge was Limei Feng. Id. at 15. Detective Keller
16   learned Zhiqiang Liu listed Everidge as his place of residence. Id. However, Liu’s registered
17   DMV address was Wisconsin Street, San Francisco. The owner of Everidge was Green Venture
18   LLC, with the same San Francisco address as Liu. Id. at 17.
19                  On April 5, 2012, Detective Keller drove to Everidge and observed the windows
20   were covered by blinds, two windows were partially open, and the screens were dirty with debris.
21   Id. at 15. In Keller’s experience, the appearance was consistent with a marijuana grow house:
22   windows are left open for ventilation and the suction from the fans leaves a debris build-up on the
23   screen. Id.
24                  On April 12, 2012, Detective Keller and his coworkers noted the windows at
25   Everidge were still open despite rain. Id. at 16. The detectives approached the home and could
26   hear a humming sound coming from inside the residence which, in their experienced opinions,
27   was consistent with the sound made by ventilation systems used in marijuana grow operations.
28   Id.
                                                      12
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 13 of 31


 1                  On April 18, 2012, Detective Keller observed Liu leave the Everidge garage in a
 2   silver Toyota Sienna license 6UN**** (silver Sienna). Id. EGPD detectives learned Limei Feng
 3   was the registered owner of the silver Sienna at an address on Wisconsin Street, San Francisco.
 4   Id. at 15.
 5                  EGPD detectives followed Liu to 82** Cliffcrest Way, Sacramento (Cliffcrest),
 6   where he pulled into the garage. Id. at 16. The blinds at Cliffcrest were tightly drawn and in
 7   Keller’s experience, marijuana cultivators keep windows covered tightly. Id. Fetch informed
 8   Detective Keller the utilities subscriber for Cliffcrest was Shicai Wu and the power usage for the
 9   home had been over 10,000 KWH for the preceding two months. Id. Detectives later learned that
10   Zhicai Wu owned Cliffcrest, though he had a mailing address on Pacific Avenue, San Francisco,
11   California. Id. at 16–17.
12                  While observing Cliffcrest, EGPD detectives saw Qinghong Li arrive in a black
13   Lexus license 4WY**** (Lexus) and walk towards the house. Id. at 16. The Lexus was
14   registered to Li at an address on Jackson Street, San Francisco, while her address with the DMV
15   was on Pacific. Id. at 16-17.
16                  Shortly after Li’s arrival, Liu left Cliffcrest in the silver Sienna and returned to
17   Everidge. Id. at 16.
18                  On July 7, 2012, Detective Keller found a bag filled with marijuana plant leaves
19   and stems in the trash container on the curb in front of Everidge. Id. at 17.
20                  On September 11, 2012, Detective Keller and another EGPD detective drove to
21   Everidge and could hear whistling, consistent with the sound made by ventilation systems used in
22   marijuana grow operations, coming from the open front door of the house. Id. at 17–18.
23                  On September 12, 2012, Detective Keller learned Everidge had used 10,253 KWH
24   of power the previous month, and Cliffcrest had used 10,088 KWH. Id. at 18. Detective Keller
25   conducted surveillance at Everidge and saw the silver Sienna arrive and park in the garage. Id.
26   Sheetrock and interior doors were stacked inside the garage; in Detective Keller’s experience,
27   bedroom doors are removed from grow-rooms and sheetrock is used to enclose large open areas.
28   Id.
                                                      13
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 14 of 31


 1                  On September 18, 2012, Detective Keller observed a blue Toyota Sienna license
 2   6LH**** (blue Sienna) pull into the garage of Cliffcrest. Id. at 19. Shortly thereafter, Detective
 3   Keller observed defendant Shihong Chen drive the blue Sienna from Cliffcrest to 3* Caina Court,
 4   Sacramento, California (Caina) where he picked up Li. Id. Chen then drove with Li to 97**
 5   McKenna Drive (McKenna) and parked in the garage. Id. EGPD detectives observed Chen leave
 6   McKenna and take two children to a nearby elementary school. Id. Later Chen picked up two
 7   minors from a nearby high school and returned with them to McKenna. The black Lexus was
 8   parked in the garage. Id.
 9                  Fetch informed Detective Keller that Chen was the utilities subscriber for
10   McKenna. Id. The house used just below 5,000 KWH of power the previous month, which was
11   abnormally high. Id. at 19–20. Detective Keller found McKenna was owned by Bai Qiong Li,
12   who had a DMV-registered address that matched Zhicai Wu’s on Pacific Avenue, San Francisco.
13   Id. at 20; ECF No. 95-1 ¶ 20. The blue Sienna was registered to Chen at McKenna’s address,
14   though his DMV-listed address was the same as Li’s, Jackson Street, San Francisco, California.
15   ECF No. 78 at 19.
16                  On September 19, 2012, Detective Keller and another EGPD detective observed
17   the Lexus parked in front of Cliffcrest. Id. at 20. On September 25, 2012, Detective Keller
18   learned about Officer Barnes’ February 21, 2012 traffic stop of Li and Chen in the black Lexus
19   near Cliffcrest, the odor of marijuana in their car, Li’s claim that she and Chen had medical
20   marijuana cards, and Barnes’ discovery of the electric ballasts and two grow lamps in the car. Id.
21   The affidavit reported that Barnes did not find medical marijuana cards or marijuana in the Lexus.
22   ECF No. 78 at 20.
23                  On September 25, Keller saw Li leave McKenna in the Lexus, drop a minor off at
24   a nearby high school, and return to the house. Id. Upon her return, a Toyota Rav4, license
25   4YX**** and registered to Peng at an address on Pacific Avenue, San Francisco, was parked out
26   front. Id. at 20–22
27                  Later in the evening on the 25th, EGPD detectives followed Chen in the blue
28   Sienna from Cliffcrest to McKenna. Id. at 21. At McKenna, Li, Bao Qiong Li, Peng, and an
                                                     14
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 15 of 31


 1   unknown adult and unknown children entered the van. Id. Chen drove the group to a restaurant.
 2   Id.
 3                  As Chen left McKenna, other detectives followed Liu as he left Everidge in the
 4   silver Sienna. Id. Liu made several quick lane changes on the freeway, left the freeway abruptly,
 5   and made a quick U-turn, suggestive of the kind of counter-surveillance he had seen used by drug
 6   dealers. Id.
 7                  Officers eventually found Liu again and followed him to the same restaurant
 8   where Chen and the others had gone. Id. at 22. Liu and Li left the restaurant in the silver Sienna
 9   and drove to a vacant house on Belleau Wood Lane; the two walked around outside the house and
10   then returned to the restaurant. Id. In Keller’s opinion, the two were inspecting the house for
11   possible purchase. Id.
12                  On September 29, 2012, Detective Keller received power usage comparisons for
13   Everidge, Cliffcrest, and McKenna. Id. Everidge’s power usage averaged 9,075 KWH per
14   month, while neighboring residences showed average monthly power usage rates of 1,347 KWH,
15   574 KWH, and 743 KWH. Id. Cliffcrest’s power usage averaged 8,581 KWH per month, while
16   neighboring residences averaged at 853 KWH, 509 KWH, and 503 KWH per month. Id.
17   McKenna’s power usage averaged 2,852 KWH per month, while neighboring residences
18   averaged at 764 KWH, 447 KWH, and 866 KWH per month. Id. In Detective Keller’s
19   experience, indoor marijuana growing operations use many grow lamps, ballasts and fans, all of
20   which use large amounts of electricity compared to neighboring houses. Id.
21                  On October 9, 2012, Detective Keller found two small marijuana leaves in the
22   Cliffcrest trash container. Id. During the month of October, Detective Keller periodically
23   surveyed Everidge and Cliffcrest and observed that they maintained the outward appearance of
24   marijuana grow houses, with blinds tightly closed and a few windows open, their screens covered
25   with debris. Id. at 23. Also in October, officers noticed the windows of a “bonus room” above
26   the garage at McKenna were tightly covered so that light could not enter or leave the room,
27   consistent with marijuana growing. Id.
28   /////
                                                     15
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 16 of 31


 1                  As noted above, on October 23, 2012, Detectives Keller and Ramos walked up to
 2   Cliffcrest’s front door and while standing in the front entry area, they smelled a strong odor of
 3   marijuana and heard a humming sound consistent with the sound made by ventilation systems
 4   used for marijuana grow operations. Id. The detectives drove to Everidge and, upon walking to
 5   that house’s front door, were able to hear a similar humming sound. Id. The windows of
 6   Everidge were also open despite the fact it had rained the night before. Id.
 7                  On October 25, 2012, Detective Keller learned the average monthly power usage
 8   rate for Caina was 4,979 KWH per month, up from 909 KWH the previous month. Id. Detective
 9   Keller drove to Caina and observed its window blinds were tightly closed and a small upstairs
10   bathroom window was open. ECF No. 78 at 23.
11                  Based on these observations, Detective Keller sought a warrant to allow the
12   installation of GPS tracking devices on Li’s Lexus and Chen’s blue Sienna. Id. at 24, 27. He
13   believed Li was driving the Lexus “to actively sell and distribute marijuana throughout
14   Sacramento” and wanted to “locate the places where the vehicles pick up and/or deliver
15   marijuana, proceeds from the sales of marijuana and/or items associated with the sales of
16   marijuana.” Id.
17                  A state judge issued the warrant as requested on October 25, 2012, authorizing
18   GPS tracking for ten days. On November 6, 2012, the judge renewed the warrant. The affidavit
19   supporting the renewal reported the tracker had revealed the Lexus had been parked at Gwerder
20   Court (Gwerder). Id. at 65. Detectives saw Jun Peng driving a Toyota Rav4, which officers had
21   seen at McKenna several times, pull into the Gwerder driveway and begin unloading lumber,
22   which Keller averred is often used to build frames for grow trays and false walls, and ducting,
23   which is used for blower fans to ventilate grow rooms. Id. at 66. Property records showed Peng
24   and Liandi Wu owned Gwerder. Id. The energy consumption for Gwerder in October was 21
25   KW, with service beginning on October 1. Id.
26                  Officers saw Chen arrive at Gwerder in his blue Sienna and then followed Chen
27   and Peng to a Home Depot, where they purchased plywood and 2x4’s and returned with the
28   materials to Gwerder. Id. at 67.
                                                      16
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 17 of 31


 1                    The GPS tracker showed the Lexus had again visited Belleau Wood, which Li
 2   and Liu had visited on September 25. Id.
 3                          b. The Motion to Suppress
 4                                  i. Probable Cause
 5                  Li and Chen argue the state GPS warrant is not supported by probable cause
 6   because the only information linking the Lexus to marijuana growing is the fact it had parked for
 7   two hours at a possible grow house once in a five month period, while the evidence linking the
 8   blue Sienna to criminal activity was a mere two visits to a possible grow house. ECF No. 71 at
 9   7. They argue neither presence is sufficient to establish probable cause for tracking the van and
10   the car to develop evidence of marijuana sales and distribution. Id. at 9-10; ECF No. 98 at 1-2.
11   They also argue there was no probable cause under state law because Detective Keller made no
12   attempt to determine whether any marijuana growing operation at Cliffcrest was legal, in light of
13   Chen’s and Li’s medical marijuana cards. ECF No. 71 at 8-9.
14                  The government counters that the affidavit adequately described the “basis of the
15   investigation, the multiple sources of information indicating the participants and the scope of the
16   marijuana cultivation conspiracy.” ECF No. 97 at 13.
17                  As noted above, under California law, medical marijuana patients, whether or not
18   they have a card, are “not protected for [t]he acts of selling, giving away, transporting, and
19   growing large quantities of marijuana, [which] remain criminal.’” Chavez v. Superior Court,
20   123 Cal. App. 4th 104, 110 (2004) (citation omitted).
21                  Here, the affidavit sufficiently describes the apparent use of Everidge, Cliffcrest,
22   and McKenna for commercial-style production of marijuana: Everidge, Cliffcrest, McKenna, as
23   well as Caina, had patterns of excessive consumption of electricity compared to the neighboring
24   houses, with usage at McKenna and Caina jumping dramatically during the surveillance period;
25   officers found marijuana in the trash at both Everidge and Cliffcrest; officers heard the humming
26   sound of ventilation fans used in large marijuana-grow operations coming from Everidge and
27   Cliffcrest and smelled marijuana at Cliffcrest; Everidge, Cliffcrest and Caina appeared to be grow
28   houses, with blinds tightly drawn, but a window or two left open for ventilation even during the
                                                      17
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 18 of 31


 1   rain, and debris on some of the screens; in October, officers noticed windows of a room above the
 2   garage at McKenna were tightly covered; Chen and Peng purchased materials that could be used
 3   to convert Gwerder into a grow house; doors and sheetrock were seen in public view in
 4   Everidge’s garage, suggesting rooms had been configured for marijuana production; Li and Chen
 5   had been carrying electric ballasts still warm to the touch and light hoods when Officer Barnes
 6   stopped their car, smelling strongly of marijuana, near Cliffcrest, yet they claimed they were
 7   merely visiting from San Francisco; Li and Liu visited a house for sale after Liu had been driving
 8   in a manner suggestive of counter surveillance; Chen’s blue Sienna had visited Cliffcrest on three
 9   occasions and McKenna on five occasions, and he had picked up Li once from Caina; Li had
10   visited McKenna twice, Cliffcrest once and Caina once.
11                  The affidavit thus describes Li’s and Chen’s activities consistent with involvement
12   in a marijuana growing operation involving at least two established, clandestine growing sites -
13   Everidge and Cliffcrest, expanding to a third, and possibly fourth site - Caina and McKenna,
14   respectively. In light of the information suggesting that Li and Chen actually lived in San
15   Francisco, the reviewing magistrate could have reasonably deduced that the Sacramento and Elk
16   Grove locations were not operated to provide medical marijuana for Li and Chen alone, but rather
17   as a business. Cf. United States v. Smith, No. 2:11-cr-00428 GEB, 2012 WL 2620526, at *3
18   (E.D. Cal. July 5, 2012).
19                  Chen notes the warrant was authorized to gather evidence about the distribution of
20   marijuana, yet nothing in the affidavit points to any distribution or sales activity. ECF No. 98 at
21   1-2. The issuing magistrate, however, taking a common sense view of the affidavit, could have
22   concluded that the purpose of a clandestine marijuana growing operation, using several locations
23   for production of marijuana, was the ultimate distribution of a large amount of the product.
24                  The totality of the circumstances described in the affidavit allowed the magistrate
25   to reasonably conclude there was a fair probability evidence of marijuana distribution might be
26   found by tracking the Lexus and the blue Sienna.
27   /////
28   /////
                                                      18
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 19 of 31


 1                                   ii. Franks Hearing
 2                   Li argues the affidavit provided electrical consumption figures for Everidge,
 3   Cliffcrest, McKenna and Caina without including the square footage of these houses along with
 4   the square footage of the neighboring homes used for the comparison electrical figures. ECF No.
 5   71 at 11. She argues that in this way, “by reporting less than the total story, an affiant can
 6   manipulate the inferences a magistrate will draw.” Id. She seeks a Franks hearing to explore
 7   whether the omission of this information constitutes omission of a material fact.
 8                   As noted, a defendant seeking a hearing must make an offer of proof, a substantial
 9   preliminary showing that material information was omitted. Li has not provided information
10   about the sizes of the houses on Everidge, Cliffcrest, McKenna, and Caina, all of which she had
11   access to. She has not even attempted to meet the first prong of the Franks showing. Li is not
12   entitled to a Franks hearing.
13                   Chen argues he also is entitled to a Franks hearing because Keller deliberately
14   omitted the fact that Barnes had seen at least Li’s medical marijuana card during the search of the
15   Lexus. However, as discussed above, even if the issuing magistrate had been informed Barnes
16   had found Li’s medical marijuana card, this information would not have changed the probable
17   cause calculus: the affidavit described a large-scale marijuana growing operation, outside the
18   protections of the CUA and MMPA. Chen is not entitled to a Franks hearing.
19                   2. The Federal GPS Warrant
20                          a. The Affidavit
21                   The federal GPS warrant affidavit repeats much of the information developed by
22   EGPD, stated in slightly different terms, and incorporates information secured through EGPD’s
23   monitoring of the GPS units attached to the Lexus and the blue Sienna as well as further
24   surveillance.
25                   The GPS tracker for the Lexus was installed on October 26, 2012, while it was at
26   McKenna, and after several days of observation, EGPD detectives learned the vehicle had been
27   parked in front of a residence at 81** Gwerder Court (“Gwerder”). ECF Nos. 80-1 at ¶¶ 17-18.
28   EGPD detectives went to Gwerder and observed the Lexus parked outside. Id. Shortly thereafter,
                                                      19
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 20 of 31


 1   Peng and Chen, driving the Toyota Rav4 previously observed at McKenna, pulled into the
 2   Gwerder’s driveway ECF No. 80-1 ¶ 19. The men unloaded lumber and large ducting into the
 3   garage. Id. The affiant, Special Agent Swenson, said that based on his experience, marijuana
 4   cultivators will use lumber to frame supports for grow trays and the ducting as part of the
 5   ventilation system. ECF No. 80-1 ¶ 19. Id.
 6                  On November 2, 2012, EGPD detectives observed Chen drive from McKenna to
 7   Gwerder in the blue Sienna. ECF Nos. 80-1 at ¶ 20. While Chen was inside the house, detectives
 8   installed the GPS tracker onto the blue Sienna. ECF No. 80-1 ¶ 20. Chen and Peng left Gwerder
 9   in the blue Sienna, went to Home Depot, purchased lumber, returned to Gwerder and unloaded
10   the lumber into the house. ECF No. 80-1 ¶ 20.
11                  Between November 2 and November 4, 2012, EGPD detectives monitored the
12   GPS trackers and observed the Lexus and blue Sienna “frequenting” Cliffcrest and McKenna.
13   ECF No. 80-1 ¶ 21. The state GPS warrant expired on November 4, but was renewed on
14   November 6, 2012 by Judge Sapunor of the Sacramento County Superior Court. ECF No. 80-1
15   ¶ 23. On November 6, the blue Sienna’s GPS tracker indicated the van was in a warehouse
16   district in Sacramento. ECF No. 80-1 ¶ 23. By the time investigators reached the area, the van
17   was gone, but one business in the area was “Hydro World,” a hydroponics business. ECF No.
18   80-1 ¶ 23. Swenson observed that in his experience, marijuana growers often purchase
19   hydroponics equipment, such as ballasts, light hoods, fans and carbon filters. ECF No. 80-1 ¶ 23.
20                  Investigators tracked Chen and Peng to Cliffcrest and from there to McKenna.
21   ECF No. 80-1 ¶ 23.
22                  On November 16, 2012, Swenson applied for a warrant to install GPS tracking
23   units on the Lexus and the silver and blue Siennas, opining the vehicles “will be used to facilitate
24   the transportation and distribution of marijuana” and that tracking the vehicles would allow
25   agents to identify others involved in the marijuana cultivation operation. ECF No. 80-1 ¶¶ 25, 26.
26   A federal magistrate judge signed the warrant on November 16, 2012. ECF No. 80-1 at 14.
27   /////
28   /////
                                                      20
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 21 of 31


 1                          b. Li’s Motion to Suppress
 2                                  i. Probable Cause
 3                  Li again argues the warrant is not supported by probable cause because it shows
 4   only that the Lexus and the blue Sienna visited Cliffcrest, a possible grow house on a few
 5   occasions, and that the figures about electricity use at McKenna by themselves do not establish
 6   probable cause or, at most, show that one room was being used by medical marijuana patients
 7   growing their own supply. ECF No. 80 at 6, 8.
 8                  As noted in connection with the state GPS warrant, the affidavit shows more than a
 9   few visits to a grow house. Instead, it suggest Li and Chen were part of a group involved in
10   growing marijuana at several houses outfitted for large-scale cultivation.
11                  It is true McKenna did not have the same signs it was being used as a grow house,
12   but the affidavit did include information that its consumption of electricity was high compared to
13   its neighboring houses. Relying on United States v. Clark, Li argues this is insufficient. 31 F.3d
14   831 (9th Cir. 1994). In Clark, however, the Ninth Circuit found an affidavit wanting when it said
15   only that the electrical consumption was unusually high without providing any information about
16   the average residential electrical consumption of houses generally in rural Alaska. Id. at 835.
17   The affidavit in this case does not simply say McKenna’s electricity consumption was high, but
18   provides comparisons with three neighboring house supporting the conclusion. ECF No. 80-1 ¶
19   13. Li’s attack on this portion of the affidavit is not availing.
20                                  ii. Franks Hearing
21                  As she did in connection with the state GPS warrant, Li argues the federal affidavit
22   omitted information about the houses used for comparison of electrical usage. In this motion,
23   she chides the affiants for not consulting Zillow for information about the square footage of
24   neighboring houses. As before, however, it is Li’s burden; she too could have found information
25   on Zillow and presented it had she believed it was exculpatory. ECF No. 80 at 9.
26                  Li also argues this affidavit omits evidence that Cliffcrest was owned by Zhicai
27   Wu, who had listed the same address in San Francisco as Li did. She argues this is exculpatory
28   /////
                                                       21
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 22 of 31


 1   because it suggests a familial relationship rather than a drug distribution connection. Id. Even if
 2   there was a familial connection, it does not rule out a drug connection as well.
 3                   Li argues the federal affidavit excluded information suggesting that Chen probably
 4   lived at McKenna with several children. ECF No. 80 at 9-10. She notes the state GPS affidavit
 5   describes officers’ observations of Chen travelling to and from schools with several children. See
 6   ECF No. 78-1 at 19, 20. She also presents the declaration of Juan Doig, an investigator with the
 7   Federal Public Defender’s Office, who analyzed the state GPS data. Doig reports that during the
 8   time the state tracker was in operation, the blue Sienna did not visit schools, but the Lexus went
 9   to Laguna Creek High School on five occasions and to Arlene Elementary School twice. Decl. of
10   Juan Doig, ECF No. 88 ¶¶ 10, 13. Li argues this pattern of visits is relevant because it shows she
11   and Chen did not visit McKenna solely in connection with illegal activity. However, even if this
12   information is included in the warrant, it does not undercut probable cause: the description of
13   Li’s and Chen’s involvement not only with McKenna, but also their connections to Cliffcrest,
14   Caina and Gwerder, as well as their connection with Liu adequately support a finding of probable
15   cause. That they may have taken children, their own or a relative’s, to school does not absolve
16   them of their involvement with Liu, their visits to Cliffcrest and Caina, and the high energy usage
17   at McKenna.
18                   Li notes Special Agent Swenson’s affidavit erroneously states the period of
19   authorization granted for the state GPS warrant. See ECF No. 80-1 ¶ 21 (stating EGPD detectives
20   monitored the Lexus and blue Sienna from September 26, 2012 to November 4, 2012). Li argues
21   this error was made recklessly, and that it in conjunction with the affidavits use of “frequenting,”
22   “grossly exaggerated the number of visits to [Cliffcrest]” the blue Sienna and Lexus made. ECF
23   No. 80 at 10.
24                   Though the affidavit is certainly incorrect in stating that EGPD detectives
25   monitored the movements of the vehicles through the GPS beginning on September 26, 2012,
26   rather than on October 25, 2012, Li has not demonstrated this error rises to the level of a false
27   statement made intentionally or with reckless disregard for the truth. Special Agent Swenson’s
28   affidavit provides a chronological overview of the investigation undertaken by the EGPD and
                                                      22
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 23 of 31


 1   DEA. As such, the affidavit makes it clear in context, in the paragraphs immediately preceding
 2   the erroneous date, that EGPD officials did not monitor the cars beginning on September 26,
 3   2012. See ECF No. 80-1 ¶¶ 17–20 (California GPS warrant authorized on October 25, 2012, and
 4   EGPD detectives installed Lexus tracker on October 26, 2012 and the blue Sienna’s on
 5   November 2, 2012). Given the clarity on the investigation’s sequence of events the affidavit
 6   otherwise supplies, Li has shown only that the use of the erroneous date might be negligent, but
 7   not an intentional or reckless false statement.
 8                     Finally Li argues Agent Swenson recklessly said that the Lexus and the blue
 9   Sienna “frequented” Cliffcrest during the time the state GPS trackers were in place, given the
10   brief time the vehicles were monitored. Doig avers that during the time of the state monitoring,
11   the Lexus visited Cliffcrest four times, but the Sienna did not. While the use of “frequenting” is
12   an unfortunate overstatement, neither it nor the addition of information about the actual number
13   of visits changes the ultimate finding of probable cause, based as it is on the observed visits as
14   well as the nature of the places visited. Li has not met her burden and a Franks hearing is not
15   required.
16                            c. Liu’s Motion to Suppress
17                     Liu argues the federal affidavit did not establish probable cause to believe tracking
18   his car would lead to evidence of drug distribution. First, he notes the legality of medical
19   marijuana in California, but this leads nowhere as growing and possessing marijuana is not legal
20   under federal law. Gonzales v. Raich, 545 U.S. 1 (2005). Even if state law controlled, Liu has
21   pointed to nothing suggesting he was a medical marijuana patient at the relevant time. ECF
22   No. 82 at 4, 6.
23                     Next, he echoes Li that high electricity consumption does not establish probable
24   cause. As noted, however, the affidavit provides comparisons with neighboring houses. ECF No.
25   80-1 ¶ 13. Liu also argues the affidavit does not include information about the size and location
26   of the houses used for comparison, but as the affidavit described them as neighboring; in light of
27   the homogeneous nature of most American neighborhoods, the magistrate judge could reasonably
28   /////
                                                        23
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 24 of 31


 1   have inferred the houses used for comparison were sufficiently similar to make the comparison
 2   meaningful.
 3                  Additionally, Liu argues that officers neither saw a single plant nor inspected Liu’s
 4   bank records for information about unusual transactions. ECF No. 82 at 6. However, Keller and
 5   Swenson both said Everidge appeared to be a marijuana grow house, based on the tightly closed
 6   blinds, the window that remained opened despite the weather, the debris on the screen, the sound
 7   of humming or whistling consistent with ventilation, and the marijuana leaves and stems in the
 8   trash. ECF No. 80-1 ¶¶ 2, 4, 7. Moreover, as noted above, officers observed Liu engage in
 9   countersurveillance as he left Everidge to meet Li before examining another house. ECF No. 80-
10   1. Liu has cited no authority providing that probable cause depends on observations of actual
11   growing plants or evidence of drug profits. Considering the totality of the circumstances, the
12   issuing magistrate judge could have concluded there was a fair probability evidence would be
13   disclosed by tracking Liu’s car.
14                  3. The Federal Search Warrants
15                          a. The Affidavit
16                  Once again, the federal search warrant affidavit incorporated much of the
17   information from the state and federal GPS warrant applications. It includes the following
18   additional information:
19                  On November 6, 2012, agents tracked the blue Sienna from the area around Hydro
20   World to an address on 45th Avenue (45th) and saw Chen and Peng leave the van. ECF No. 95-1
21   ¶ 35. Also on that day, investigators observed a Mercury Mystique registered to an individual
22   named Toan Gia Van of Vallejo, California, outside Caina. Id.
23                  On November 7, 2012, investigators learned that the property owner and utilities
24   subscriber for 45th was Xiu Zhen Chen. Id. ¶ 36. Investigators also learned Toan Gia Van was
25   the utilities subscriber for a house at 69** Pradera Mesa Drive (“Pradera Mesa”), which had a
26   “very high” monthly power usage rate of 3,160 KWH. Id.
27                  Investigators surveyed Pradera Mesa and saw the Mystique pull into the house’s
28   garage of that house. Id. ¶ 37.
                                                     24
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 25 of 31


 1                  On November 15, 2012, investigators observed Van and a passenger leave Pradera
 2   Mesa in a Nissan van registered to Toan Gia Van. Id. ¶ 38. The two drove to Caina and stayed in
 3   the house for fifteen minutes, and then drove to HydroWorld, where they bought some things and
 4   returned with their purchases to Caina. Id. Van then returned to Pradera Mesa. Id.
 5                  Additionally, investigators observed Chen and Li arrive at 45th in the blue Sienna,
 6   where they met with Xiu Chen and others. Id. ¶ 39. When Chen and Li left 45th, they went to
 7   the house on Belleau Wood that Li and Liu had inspected on September 25, 2012. Id. After
 8   speaking with an Asian male there, the two drove to Cliffcrest and parked in the garage. Id.
 9   When Li and Chen left Cliffcrest they went to McKenna just about the time Peng and Liandi Wu
10   arrived in the Rav4. Everybody went inside. Id.
11                  On November 16, 2012, Liu left Everidge in the silver Sienna and drove to
12   Sacramento 420, a medical marijuana business. Id. ¶ 40. Liu entered the business, but left
13   shortly thereafter. Id.
14                  On December 4, 2012, investigators drove by Caina and found approximately 166
15   marijuana root balls and some loose marijuana leaves in a bag in its trash container at the curb.
16   Id. ¶ 41.
17                  On December 5, 2012, federal investigators installed a GPS tracking device on the
18   silver Sienna after the magistrate judge signed the GPS warrant, as recounted above. Id. ¶ 43.
19                  On December 10, 2012, investigators walked up McKenna’s driveway and could
20   smell a strong odor of marijuana and hear a humming sound consistent with the noise produced
21   by ventilation systems used for marijuana grow operations. Id. ¶ 45.
22                  On December 15, 2012, Ling Feng left Pradera Mesa in the Nissan van and drove
23   to Caina, where she stayed for about an hour. Id. ¶ 47.
24                  On January 8, 2013, investigators found large amounts of wet marijuana leaves in
25   the trash containers from Caina and Pradera Mesa. Id. ¶ 48.
26                  On January 8, 2013, investigators heard the humming sound consistent with
27   ventilation systems from both Everidge and Cliffcrest and noticed that both houses had small
28   video surveillance cameras affixed to them. Id. ¶ 49.
                                                     25
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 26 of 31


 1                 On January 16, 2013, investigators received the following information about
 2   power consumption from SMUD: Everidge’s power usage averaged 10,758 KWH per month,
 3   and the home had a last month power usage of 13,219 KWH. Id. ¶ 51. Three neighboring
 4   residences showed monthly average power usages of 617 KWH, 555 KWH, 756 KWH. Id.
 5   Cliffcrest’s power usage averaged 10,348 KWH per month and the house had used 11,855 KWH
 6   the previous month. Id. ¶ 52. Three neighboring residences showed monthly average power
 7   usages of 842 KWH, 532 KWH, and 511 KWH. Id. McKenna’s power usage averaged 4,541
 8   KWH per month and the house had used 6,528 KWH the previous month. Id. ¶ 53. Three
 9   neighboring residences showed monthly average power usages of 739 KWH, 460 KWH, and 840
10   KWH. Id. Gwerder’s power usage averaged 2,965 KWH per month and the house had used
11   5,827 KWH the previous month. Id. ¶ 54. Three neighboring residences showed monthly
12   average power usages of 444 KWH, 834 KWH, and 464 KWH. Id. The power usage at 45th
13   averaged 5,596 KWH per month and was 6,842 KWH the previous month; three neighboring
14   houses had monthly averages of 733 KWH, 1,060 KWH and 26 KWH. Id. ¶ 55. The power
15   usage for Pradera Mesa averaged 3,654 KWH per month, with 4,664 KWH used the previous
16   month, while three neighboring residences had monthly power usages of 948 KWH, 1,087 KWH
17   and 795 KWH a month. Id. ¶ 56. Caina’s power usage averaged 7,154 KWH per month and the
18   house had used 9,968 KWH the previous month. Id. ¶ 57. Three neighboring residences showed
19   monthly average power usages of 948 KWH, 1,087 KWH, and 795 KWH per month. Id.
20                 Based on these observations, Special Agent Swenson prepared the federal search
21   warrant application for a search of Everidge, Cliffcrest, McKenna, Gwerder, 45th, and Pradera
22   Mesa which was approved by a different federal magistrate judge on January 29, 2013. ECF No.
23   95-1.
24                 On January 30, 2012, investigators executed the federal search warrants. ECF
25   No. 1 ¶ 4. At Everidge, investigators found a marijuana grow which “encompass[ed] the majority
26   of the residence” and seized 867 marijuana plants and approximately 50 pounds of processed
27   marijuana.” Id. ¶ 12. At Cliffcrest law enforcement found a marijuana grow “encompassing four
28   rooms in the residence,” and seized 417 marijuana plants and two pounds of marijuana. Id. ¶ 13.
                                                   26
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 27 of 31


 1   Investigators found a marijuana grow in McKenna’s garage and seized 152 growing marijuana
 2   plants and 390 marijuana clone plants, among other thing. Id. ¶ 14. At Caina officers found a
 3   grow that took up “the entire residence” and seized 600 marijuana plants and a half-pound of
 4   processed marijuana, among other things. Id. ¶ 15. Investigators found another grow operation at
 5   Gwerder and seized 251 marijuana plants. Id. ¶ 16. The search of 45th also uncovered a grow
 6   operation and law enforcement secured 282 marijuana plants “growing inside the various rooms
 7   of the house,” as well as fifteen pounds of processed marijuana and other items connected to the
 8   grow. Id. ¶ 17. At Pradera Mesa, investigators discovered a marijuana grow and seized 343
 9   marijuana plants and approximately ten pounds of processed marijuana. Id. ¶ 18.
10                          b. Li’s Motion to Suppress
11                                 i. Probable Cause
12                  The affidavit says that agents believe McKenna “likely contains a marijuana grow”
13   based on the smell of marijuana, the sound of the fan, the high electrical consumption, and the
14   visits by Li, Chen and Peng. ECF No. 95-1 ¶ 61.
15                   Li argues there is no probable cause for McKenna because the warrant does not
16   clearly tie any of her contacts with other potential marijuana grows to the McKenna address. She
17   suggests the affidavit shows she and Chen lived at McKenna with several children and only
18   visited Cliffcrest, where the power consumption suggested a marijuana growing operation. She
19   says the fact that she had growing equipment in her car in February 2012 does not add to the
20   probable cause because Chen was not the power subscriber at McKenna until four months later.
21   She argues her one contact with Liu shows nothing about growing marijuana at McKenna.
22   Finally she argues that the odor of marijuana in December 2012 does not suggest marijuana
23   would still be present in January 2013, particularly in light of her status as a medical marijuana
24   user. 2
25   /////
26             2
              She argues that “evidence that a medical marijuana user smoked marijuana on the
27   property once 50 days before the search is so distant that it is irrelevant to probable cause.” ECF
     No. 95 at 5. She presents no evidence, however, that she had been smoking marijuana at
28   McKenna.
                                                     27
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 28 of 31


 1                  The government counters that the warrant authorized not only a search for growing
 2   marijuana, but also for currency, “narcotics or money ledgers, narcotics distribution or customer
 3   lists, . . . pay and owe sheets, records and other documents noting the price, quantity, date and/or
 4   times when narcotics were purchased”; “items evidencing the obtaining, transfer, and/or
 5   concealment of assets”; “items reflecting names, addresses, telephone numbers, communications,
 6   and illegal activities of associates in narcotic trafficking activities . . . .” ECF No. 95-11 at 39-40;
 7   ECF No. 97 at 12.
 8                  As noted in connection with Li’s motions to suppress the state and federal GPS
 9   warrants, the affidavit in this case showed that she and Chen were involved with Liu, Peng and
10   others, all of whom had connections to houses with high power usage and some with the
11   appearance, sound, and smell of marijuana growing operations. Officers found growing
12   equipment in her car, which smelled strongly of marijuana, and after Chen became the utilities
13   subscriber at McKenna in June 2012, the use of electricity climbed, suggesting Chen, Li, and
14   others had begun to use McKenna as another grow site. See, e.g., ECF No. 95-1 ¶ 19 (“[T]he
15   billing customer for … McKenna Drive was Shihong Chen with service start date of Jun [sic] 1,
16   2012, and a last month power usage of close to 5000 KWH which was very high”). Moreover,
17   “[t]he mere lapse of substantial amounts of time is not controlling in a question of staleness.”
18   United States v. Dozier, 844 F.2d 701, 707 (9th Cir. 1988). Marijuana cultivation “is a long-term
19   crime”, id., and the magistrate judge could have concluded those involved would have
20   maintained records and equipment and continued growing plants over the span of several months.
21   United States v. Hernandez-Escarsega, 886 F.2d 1560, 1566 (9th Cir. 1989) (in cases involving
22   “a widespread, firmly entrenched, and ongoing narcotics operation . . . staleness arguments lose
23   much of their force”). In this case, Li’s involvement with Liu and others, her visits to other grow
24   houses, the high power consumption at McKenna up to the issuance of the warrant and the smell
25   of marijuana issuing from McKenna support the magistrate judge’s determination there was
26   probable cause to search McKenna.
27   /////
28   /////
                                                       28
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 29 of 31


 1                                  ii. Franks Hearing
 2                  Li claims that McKenna is a five bedroom house with a swimming pool, a fact
 3   omitted from the affidavit but one that could explain the consistently high energy usage. She
 4   also argues that agents failed to include information on the size of neighboring houses, the
 5   information suggesting the potential familial relationship between Zhicai Wu and Li, and material
 6   suggesting that Chen probably lived at McKenna with several young children.
 7                  As noted above, Li simply asserts, but presents no evidence, that McKenna is a
 8   large house with a pool and presents no evidence about the size of neighboring properties, even
 9   though it is her burden to do so. Moreover, as explained above, none of this other information
10   would have vitiated the showing of probable cause, based on the totality of Li’s and Chen’s
11   observable involvement with the multi-location growing operation.
12                          c. Peng’s Motion to Suppress
13                                  i. Probable Cause
14                  Peng argues investigators merely assumed he grew marijuana because he was
15   friends with people who were connected to houses that appeared to be marijuana cultivation sites
16   and visited those home and visited those homes himself on occasion. ECF No. 96 at 3. He
17   contends apart from his association with potential growers, there is little to suggest that his house
18   at Gwerder court was also a grow site. Id. at 4. He says the only facts tied to Gwerder are these:
19   on October 31, 2012, he carried some lumber into the house and there was some ducting in his
20   garage; in October, the power usage appeared normal at 216 KWH; in November 2, 2012, he
21   unloaded some more lumber and some plywood into the house; in February 2013, the power
22   consumption for Gwerder was 5,872 KWH, but three neighboring houses used only of 444 KWH,
23   834 KWH, and 464 KWH per month. He emphasizes there was no marijuana found in his trash
24   and no sounds, smell or appearance indicative of cultivation. He also argues the information
25   about the lumber was stale, as those observations were made three months before the warrant was
26   executed, and the power consumption data is meaningless without a more detailed comparison.
27   ECF No. 96 at 6-7.
28   /////
                                                      29
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 30 of 31


 1                  Although the probable cause showing for Gwerder is less robust than it is for
 2   McKenna, the totality of the circumstances still support the magistrate judge’s probable cause
 3   determination. First, the power consumption information was not meaningless; as noted, in
 4   Clark, the Ninth Circuit said that an affidavit saying only that power usage was high was
 5   insufficient without comparisons with other houses, information provided in this case. 31 F.3d at
 6   835. Second, the observations about the lumber are not stale: in Swenson’s opinion, Peng and
 7   Chen purchased lumber typically used to convert a single-family home into a growing operation,
 8   see ECF No. 95-1 ¶ 31, “improvements” that would typically remain in place throughout the
 9   property’s use as a cultivation site. See Hernandez-Escarsega, 886 F.2d at 1566. Third, the
10   affidavit described Peng’s contacts with Chen and their visits to Caina and McKenna, other grow
11   sites for which probably cause was established.
12                  The Ninth Circuit has said:
13                  In order to find probable cause based on association with persons
                    engaging in criminal activity, some additional circumstances from
14                  which it is reasonable to infer participation in criminal enterprise
                    must be shown. One important consideration in assessing the
15                  significance of the association is whether the known criminal
                    activity was contemporaneous with the association. Another is
16                  whether the nature of the criminal activity is such that it could not
                    normally be carried on without the knowledge of all persons
17                  present.
18   United States v. Hillison, 733 F.2d 692, 697 (9th Cir. 1984) (internal citations omitted). Here
19   Peng was associating with Chen and others during the time the group was engaged in activity
20   consistent with growing marijuana in various houses in the greater Sacramento area, and he was
21   visiting several of the houses, such as Caina, where investigators had found marijuana in the
22   trash. These factors go beyond showing mere association and bolster the showing of probable
23   cause established by the energy use and the construction activity at Gwerder. The warrant was
24   adequately supported.
25                                 ii. Franks Hearing
26                  Peng requests a Franks hearing regarding an alleged material omission of fact
27   from Special Agent Swenson’s affidavit supporting the federal search warrant. ECF No. 96 at 8–
28   9. Peng notes the affidavit failed to include the specific addresses of the homes against which
                                                       30
      Case 2:13-cr-00050-KJM Document 107 Filed 01/07/15 Page 31 of 31


 1   Gwerder’s monthly power usage was compared, and that therefore “[t]he comparisons are useless
 2   and, arguably, misleading.” Id. at 9. However, Peng has presented nothing suggesting Gwerder
 3   was a mansion in a neighborhood of bungalows and so has not borne his initial burden of
 4   demonstrating that any omission tended to mislead.
 5   II. THE MOTION TO DISMISS
 6                    The defendants have filed a joint motion to dismiss the indictment on the grounds
 7   that the inclusion of cannabis in Schedule I is an arbitrary classification. They also argue the
 8   government’s prosecution policy relating to marijuana violates the doctrine of Equal Sovereignty.
 9   As they have presented no evidence in support of their arbitrary classification claim and no copy
10   of the government’s prosecution policy, they have not supported their motion in a manner that
11   requires the court to reach the merits of their argument.
12                    IT IS HEREBY ORDERED that:
13                    1. Li’s motion to suppress evidence from the state GPS warrant, ECF No. 71, is
14   denied;
15                    2. Li’s motion to suppress evidence from the vehicle stop, ECF No. 79, is denied;
16                    3. Li’s motion to suppress evidence from the federal GPS warrant, ECF No. 80, is
17   denied;
18                    4. Liu’s motion to suppress evidence from the federal GPS warrant, ECF No. 82,
19   is denied;
20                    5. The joint motion to dismiss, ECF No. 87, is denied;
21                    6. Li’s motion to suppress evidence of the sniff searches, ECF No. 94, is denied;
22                    7. Li’s motion to suppress evidence from the federal search warrant, ECF No. 95,
23   is denied; and
24                    8. Peng’s motion to suppress evidence from the federal search warrant, ECF No.
25   96, is denied.
26   DATED: January 6, 2015.
27

28                                                         UNITED STATES DISTRICT JUDGE
                                                      31
